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                        Exhibit 4
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November 21, 2020                                                Ronald M. Jacobs
                                                                 T 202.344.8215
                                                                 F 202.344.8300
                                                                 RMJacobs@Venable.com




Via email to: catherine@truethevote.org

Ms. Catherine H. Engelbrecht
True the Vote, Inc.
13909 Track Road East
Cat Spring, TX 78933


       Re:    Return of Funds

Dear Ms. Engelbrecht:

We represent Fred Eshelman with respect to the directed donations that he made to True
the Vote, Inc. in the two weeks following the election, totaling $2.5 million. In short, and as
Mr. Eshelman has previously requested, we ask that these funds be returned immediately.
To that end, I will need an email this weekend (no later than 7:00 p.m. EST on Sunday,
November 22, 2020) agreeing to the prompt return, and a wire transfer initiated Monday
morning (10:00 a.m. EST) to return those funds, or we will have to take additional steps to
collect those funds.

 We understand that True the Vote may have engaged in some limited activities in
furtherance of the specific projects for which Mr. Eshelman agreed to make a donation. With
appropriate documentation and accounting, Mr. Eshelman is willing to allow True the Vote
to retain some of the funds he donated. Given the lack of information provided to date about
these activities, we anticipate this will be a relatively low number, but are willing to discuss.
Please contact me immediately if True the Vote believes it is entitled to retain any of these
funds so that we can maintain our timeline.

As should be clear from the prior correspondence you have had with Mr. Eshelman, no further
funds should be expended from the money he donated. In addition, True the Vote must retain
all necessary records to justify any funds that were expended previously.

If I do not receive confirmation that you intend to return the funds to Mr. Eshelman, and if
we do not receive proof of a wire transfer on Monday morning, we will be forced to take legal
action to obtain redress. Given the reasonable foreseeability of litigation, True the Vote must
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Ms. Catherine H. Engelbrecht
November 21, 2020
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immediately take steps to preserve all hard-copy and electronically stored information that
may contain evidence relevant to Mr. Eshelman’s claims. True the Vote must also
immediately cease all data destruction (scheduled or otherwise) and undertake efforts to
prevent the destruction or disposition of hard-copy materials or electronically stored
information that may contain relevant evidence.

We are hopeful that this matter can be resolved quickly and amicably. Please know, however,
that Mr. Eshelman expects his money back immediately as he has other efforts he wishes to
fund that have very short timelines. We look forward to your prompt response.

                                         Sincerely,




                                         Ronald M. Jacobs



cc:     Mr. Fredric N. Eshelman
